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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Dolls Kill, Inc.
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:24−cv−01960
                                                                     Honorable Steven C.
                                                                     Seeger
The Partnerships and Unicorporated Associations
Identified in Schedule A, et al.
                                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 9, 2024:


        MINUTE entry before the Honorable Steven C. Seeger: Defendant ARQA's
motion for an extension of time to respond to the complaint (Dckt. No. [17]) is hereby
granted. The Court grants Defendant ARQU (only) an extension until June 26, 2024 to
respond to the complaint. The extension does not apply to any other defendant. Mailed
notice. (jjr, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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